 Case: 1:14-cv-01748 Document #: 2719 Filed: 06/11/18 Page 1 of 5 PageID #:67514



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: TESTOSTERONE REPLACEMENT                      )
THERAPY PRODUCTS LIABILITY                           )
LITIGATION                                           )   Master Docket Case No. 1:14-cv-1748
                                                     )
                                                     )   MDL No. 2545
                                                     )
This document relates to: All cases                  )   Hon. Matthew J. Kennelly
                                                     )


DEFENDANTS’ MOTION FOR LEAVE TO FILE SEPARATE MOTIONS INCLUDING
 FOR GENERAL AND CASE-SPECIFIC EXPERTS AND TO EXCEED PAGE LIMITS

       Defendants AbbVie Inc. and Abbott Laboratories (collectively “AbbVie”) respectfully

move this Court for leave to file separate motions, including for general and case-specific experts,

and memoranda of law in excess of fifteen pages in support for their motion for summary judgment

in Kibat and in excess of fifteen pages in support of their motions to exclude expert testimony for

the six Trial Group 1 cases. In support of this motion, AbbVie states as follows:

       1.      The Court set a deadline of June 14, 2018, for the parties to file any motion for

summary judgment or seeking to challenge expert testimony pursuant to Daubert. Corrected Case

Management Order No. 87, Jan. 23, 2018, at 4 (Doc. 2342).

       2.      Local Rule 7.1 provides that briefs in support of or in opposition to any motion

shall not exceed 15 pages without prior approval of the court.

       3.      Plaintiffs’ 129-page Fourth Amended Complaint asserts claims for strict liability –

design defect, strict liability – failure to warn, negligence, negligent misrepresentation, breach of

implied warranty of merchantability, breach of express warranty, fraud, redhibition, consumer

protection, unjust enrichment, wrongful death, survival action, loss of consortium, and punitive

damages.
 Case: 1:14-cv-01748 Document #: 2719 Filed: 06/11/18 Page 2 of 5 PageID #:67515



       4.      There are six Trial Group 1 Plaintiffs whose cases are being prepared for trial. The

factual records developed for all six of these cases have required the collection of thousands of

pages of medical records and dozens of case-specific depositions.

       5.      Trial Group 1 Plaintiffs have disclosed 11 experts who have provided hundreds of

pages of expert reports and over 5,000 pages of deposition testimony. Since the Court considered

AbbVie’s initial motions to exclude expert testimony in May 2017 (see CMOs 46 & 48), Plaintiffs

served the following reports for 10 of their proposed Trial Group 1 experts:

            Witness                     General Opinions                Case-Specific Opinions

      1. Hossein Ardehali       Supplemental (Jan. 15, 2018)          Abraham (Apr. 15, 2018)
                                Supplemental (Apr. 10, 2018)          Papandrea (Apr. 22, 2018)

      2. Charles Gbur                                                 Kibat (Apr. 16, 2018)

      3. B. Burt Gerstman       Supplemental (Apr. 16, 2018)

      4. David Kessler          Supplemental (Jan. 16, 2018)
                                2nd Addendum (Apr. 16, 2018)

      5. Peggy Pence            Supplemental (Jan. 15, 2018)
                                Supplemental (Apr. 16, 2018)

      6. Henry Rinder           Supplemental (Mar. 19, 2018)

      7. Morton Rinder          General Report (Apr. 16, 2018)        Bechtholdt (Apr. 16, 2018)

      8. Martin Wells           Supplemental (Apr. 16, 2018)

      9. Ronald Ziman           General Report (Apr. 24, 2018)        Harris (Apr. 24, 2018)
                                                                      Natale (Apr. 24, 2018)

      10. Douglas Zipes         General Report (Apr. 16, 2018)

Plaintiffs did not serve a new report for their 11th expert, Perry Halushka.

       6.      To address case-specific dispositive issues, AbbVie intends to file a separate

summary judgment motion in each of the six Trial Group 1 cases. AbbVie also intends to file

                                                 2
    Case: 1:14-cv-01748 Document #: 2719 Filed: 06/11/18 Page 3 of 5 PageID #:67516



    Daubert motions as to each of the 11 experts identified by Plaintiffs and two case-specific

    Daubert motions for Dr. Ronald Ziman, who produced three reports (a general causation report

    and specific causation reports in Harris and Natale). In total, AbbVie anticipates filing 6 summary

    judgment motions and 13 Daubert motions.1

           7.      Given the scope of the claims and the extensive discovery records, AbbVie

    anticipates the need to exceed this Court’s 15-page limit for its memorandum in support of

    summary judgment in Kibat and the 15-page limit for its Daubert motions as to three experts –

    Dr. Ardehali, who provided two supplemental reports and two case specific opinions, Dr. Ziman,

    who provided a new general causation opinion and two case-specific opinions, and Dr. Zipes,

    who has not yet been subject to Daubert challenge in this litigation. Accordingly, AbbVie

    respectfully requests leave to file to file the following:

                a. A memorandum in support of AbbVie’s motion for summary judgment in Kibat

                   not to exceed 20 pages;

                b. Three memoranda in support of AbbVie’s motions to exclude Dr. Ziman’s

                   testimony (general causation and specific causation opinions in Harris and Natale)

                   not to exceed a total of 50 pages for all three memoranda; and

                c. Memoranda in support of AbbVie’s motion to exclude the testimony of Dr. Zipes

                   and motion to exclude the testimony of Dr. Ardehali not to exceed 30 pages each.

           8.      Except as requested above, AbbVie’s remaining memoranda will be within the

Court’s 15-page limits (i.e., up to 15 pages for each case-specific motion for summary judgment

and up to 15 pages for each Daubert motion).




1
 A similar approach was adopted by Judge Goodwin in In re: Ethicon, Inc., Pelvic Repair System Prods. Liab. Litig.,
No. 2:12-md-02327, Pretrial Order #210 (Dec. 18, 2015), attached as Exhibit A.

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    Case: 1:14-cv-01748 Document #: 2719 Filed: 06/11/18 Page 4 of 5 PageID #:67517



           For the reasons stated above, AbbVie respectfully requests that the Court grant this motion

and allow AbbVie to file separate motions as described above and memoranda of law in excess of

15-pages in support of its motion for summary judgment in Kibat and in excess of 15-pages in

support of its motions to exclude expert testimony of Dr. Ardehali, Dr. Ziman, and Dr. Zipes. 2



Dated: June 11, 2018                                              Respectfully submitted,


                                                                  /s/ Alicia J. Donahue
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    AbbVie conferred with Plaintiffs’ counsel regarding the requested relief, but they were not willing to agree.

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 Case: 1:14-cv-01748 Document #: 2719 Filed: 06/11/18 Page 5 of 5 PageID #:67518



                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2018, the foregoing document was filed via the Court’s

CM/ECF system, which will automatically serve and send email notification of such filing to all

registered attorneys of record.

                                                    /s/ Alicia J. Donahue
                                                    Alicia J. Donahue




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